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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ASPEN SPECIALTY INSURANCE                     :      CIVIL ACTION
COMPANY                                       :
                                              :
                                              :
      v.                                      :
                                              :
                                              :
HOSPITALITY SUPPORTIVE                        :
SYSTEMS, LLC, et al.                          :      NO. 16-01133

______________________________________________________________________

HOSPITALITY SUPPORTIVE SYSTEMS :                     CIVIL ACTION
LLC.                           :
                               :
      v.                       :
                               :
                               :
AIG SPECIALITY INSURANCE       :
COMPANY, et al.                :                     NO. 18-3777

______________________________________________________________________

BALIS FAMILY RESTAURANT CORP.  :                     CIVIL ACTION
and ADELPHIA DEPTFORD, INC.    :
collectively trading as “ADELPHIA
                               :
RESTAURANT”                    :
                               :
       v.                      :
                               :
HOSPITALITY SUPPORTIVE SYSTEMS :
LLC, et al.                    :                     NO. 19-189

                                       AFFIDAVIT


      1.    I, Thomas J. Rueter, hereby file this affidavit, in accordance with Fed. R. Civ. P.

           53(b)(3) and 28 U.S.C. § 1746.

      2. I am a retired United States Magistrate Judge for the Eastern District of Pennsylvania.

           While I was judicial officer on the court, I acted as a mediator and discovery master
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          in the above-captioned cases. Based on that experience, I am unaware of any ground

          for disqualification under 28 U.S.C. § 455 should the court appoint me as a Special

          Master in the above cases.

      3. I declare under the penalty of perjury that the foregoing is true and correct.



Executed on November 30, 2020.



s/ Thomas J. Rueter____________
THOMAS J. RUETER




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